Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 1 of 14




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No. lO-CV-80737-HURLEYIHOPKINS
        (Consolidated with Case No. lO-CV-80738-HURLEYIHOPKINS for the Receivership)

   UNITED STATES SECURITIES AND
   EXCHANGE COMMISSION,
   Plaintiff,

   v.

   TRADE-LLC, et ai.,
   Defendants,

   v.

   BD LLC, et ai.,
   Relief Defendants.
   ____________________________~I

   COMMODITY FUTURES TRADING
   COMMISSION,
   Plaintiff,

              v.

   TRADE-LLC, et ai.,
   Defendants,

   BD LLC, et ai.,
   Relief Defendants.
   ------------------------------------1
                                                   NOTICE OF FILING

              Jeffrey C. Schneider, not individually, but solely in his capacity as the court-appointed

   receiver (the "Receiver") for Trade-LLC, BD LLC, TWTT-LLC, CMJ Capital LLC, and Center

   Richmond LLC, hereby files the attached Sixth Report of Receiver dated March 26,2012.




                                   LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSI\ilAN LLP
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Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 2 of 14




   Dated: March 26, 2012                                  Respectfully submitted,

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                                          CERTIFICATE OF SERVICE

           I hereby certify that on March 26, 2012, I electronically filed the foregoing document

   with the Clerk of the Court using CMIECF. I also certify that the foregoing document is being

   served this day on all counsel of record or pro se parties identified on the attached Service List in

   the manner specified, either via transmission of Notices of Electronic Filing generated by

   CM/ECF or in some other authorized manner for those counselor parties who are not authorized

   to receive electronically Notices of Electronic Filing.


                                                                    s:/Patrick J. Rengstl
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Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 3 of 14




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Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 4 of 14



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No. lO-CV-80737-HURLEY/HOPKINS
        (Consolidated with Case No. lO-CV-80738-HURLEY/HOPKINS for the Receivership)

   UNITED STATES SECURITIES AND
   EXCHANGE COMMISSION,
   Plaintiff,

   v.

   TRADE-LLC, et aI.,
   Defendants,

   v.

   BD LLC, et aI.,
   Relief Defendants.
   _______________________________1

   COMMODITY FUTURES TRADING
   COMMISSION,
   Plaintiff,

           v.

   TRADE-LLC, et aI.,
   Defendants,

   BD LLC, et aI.,
   Relief Defendants.
   -------------------------------1

                  SIXTH REPORT OF RECEIVER JEFFREY C. SCHNEIDER

           Jeffrey C. Schneider, not individually, but solely in his capacity as receIver (the

   "Receiver") for Trade-LLC, BD LLC, TWTT-LLC, CMJ Capital LLC, and Center Richmond

   LLC (collectively, the "Receivership Entities" or "Trade"), 1 submits this Sixth Report.



   1 The Commodity Futures Trading Commission (the "CFTC") enforcement action (Case No.
   9:10-CV-80738) has been transferred to this Court and its receivership proceeding has been
   consolidated.
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 5 of 14



        I.      General Overview

             I am pleased to advise this Court that, since my last Report dated November 4, 2011, I

   have completed the first distribution to all of the claimants with "allowed claims" and all of the

   claimants who cured any claim deficiencies.         The distribution was approximately 25% of

   investor losses. 2 And the proposed cure period, which was self-executing, worked efficiently as

   planned and helped to cure the majority of the initially deficient claims, which then allowed me

   to issue distribution checks promptly without further Court Order or delay.

             For example, many claimants neglected to provide a copy of their driver's license or

   Passport when they submitted their claim form. After receiving the Claim Matrix, many then

   provided such a copy, and because they cured their claim deficiency, I accepted their claim and

   issued them a distribution check without further Court Order or delay. Similarly, I objected to

   claims in which my recommended claim amount differed from the claimant's. In response,

   many of these claimants confirmed in writing that they agreed with my recommended claim

   amount or provided the necessary records, and I then issued them a distribution check. The cure

   period ended on December 5, 2011, and the majority of the claimants with initially deficient

   claims cured any claim deficiencies through that date.

             Moreover, as an example of one of the more complex claims, there was one claimant

   whose investment had allegedly been transferred through one intermediary before being

   transferred to one of Trade's investment clubs (a second intermediary), and then to Trade. That

   claimant had allegedly made a six-figure investment, so the claim was one of the larger in the

   estate. However, that claimant did not have the necessary records to prove that his investment

   was transferred to Trade, and the first intermediary was not cooperating with me (or the



   2   There were 1,020 proof of claim forms submitted by investors.


                                                   2
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 6 of 14



   claimant) to provide the necessary bank records to track the investment. Therefore, I undertook

   the process of obtaining the first intermediary's bank records through subpoena and forensically

   analyzing them to track the alleged investment. Because of my undertaking, I was able to

   confirm the legitimacy of the six-figure investment for the benefit of this claimant, after which I

   deemed the claim as "allowed" and issued him a distribution check.

            In addition to issuing distribution checks, my professionals and I have addressed

   accounting issues to ensure that the first distribution complies with IRS requirements.        For

   example, many investors invested through an IRA or other qualified retirement account. This

   required me to timely issue a Forml099-R.         These were complicated issues that caused a

   tremendous amount of confusion, particularly for those investors that intended to "roll-over"

   their distribution checks.

            In addition to dealing with the claims and distribution process, which has occupied the

   vast majority of our time the last several months, I have also, since my last Report, closed the

   sale of insider Darren Jarema's condominium for $160,000.00, a receivership asset that I secured

   as part of my litigation against him. 3 I have also continued to receive settlement checks on a

   monthly basis from prior Court-approved settlements.

            I continue to update investors on the receivership website (www.tradereceiver.com) by

   posting letters to investors when appropriate. I also continue to post relevant filings from the

   enforcement and ancillary receivership lawsuits on the website.

            The purpose of this Report is to more specifically advise this Court and other interested

   parties as to the material actions that I have taken since my last Report dated November 4,2011,

   which, among other things, include:



   3   This Court confirmed the sale of this property [DE 145 and 146].


                                                    3
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 7 of 14




             •   Distributions

             •   Marshaling of the Receivership Entities' assets

             •   Filing lawsuits against third parties who received the fruits of the fraud

             •   Discovery

             I am hopeful, if all goes as planned, to make a final distribution by the Summer or Fall of

   this year and then close the receivership.

       II.       Distributions

             A. The First Distribution

             I have completed issuing my first distribution to claimants with "allowed claims." Many

   claim forms had some type of deficiency, many of which were easily cured by the claimant (such

   as signing the claim form, providing proof of identity, agreeing to my recommended claim

   amount or producing the requested records).             Once the deficiency was cured, the claimant

   automatically had an "allowed claim" under the protocol that I developed and this Court

   approved. 4 In short, and as I hoped for, there were very few "disputed claims" after the cure

   period expired.

             Each first distribution check was approximately 25% of the claimant's allowed claim

   amount. In other words, if the allowed claim was $10,000, then the first distribution check was

   approximately $2,500. The reason for this was that a large proportion of the funds deposited

   with Trade were used, diverted, or misappropriated in the Trade Ponzi scheme. The formula,

   which this Court approved, for calculating the first distribution check was as follows: the amount

   of the allowed claim divided by the total amount of filed claims as of the first distribution



   4  Some investors did not include the bank records confirming their investment, but most of those
   deficiencies regarding the claim amount were cured by me, when I assembled the bank records to
   track each investor's investment.


                                                       4
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 8 of 14



   ($22,333,684.84), multiplied by the proposed distribution amount ($5,500,000.00).

           I will be making another - and, probably, final- distribution, but it is expected to be for a

   smaller percentage. I am hoping to make that distribution by the Summer or Fall of 2012, after I

   resolve pending litigation issues with the remaining receivership targets.

           B. Form l099-R

           I conferred on several occaSIOns with my tax professionals to comply with IRS

   requirements for issuing the first distribution. If the claimant did not invest through a qualified

   retirement account, or an IRA, the claimant did not receive a Form 1099. If the investment was

   through an IRA, however, the distribution had to be reported on a Form 1099-R, Distributions

   From Pensions, Annuities, Retirement or Profit-Sharing Plans, IRAs, Insurance Contracts, etc.

           I informed claimants that when a distribution is made directly to a beneficiary (or

   investor), the beneficiary likely has 60 days to roll-over the funds into another IRA account to

   avoid a tax and/or a penalty on an early distribution. Because I am not an IRA custodian, I could

   not re-issue distribution checks to a claimant's account. Therefore, I informed claimants that if

   he or she wanted to fund his or her IRA account, then he or she should send the funds from the

   distribution check to the IRA account as soon as possible. I also informed claimants to discuss

   immediately their specific situation with their tax advisor regarding how this rule may apply to

   them.

           C. Late Claims

           I received several late claims which I will be analyzing. I will then recommend to this

   Court what procedure should apply to the late claims. This Court previously granted me the

   discretion to determine late claims on a case-by-case basis. I am hopeful that there will not be

   any claims that are rejected because they were late.




                                                     5
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 9 of 14



          D. Disputed Claims

          In addition, there are several claimants who have disagreed with my objection to their

   claim. I have termed these claims as "disputed claims."s The claimant and I had ninety (90)

   calendar days from their response to my objection to conduct any necessary discovery and/or file

   any dispositive motions in regards to the objections for the "disputed claim."

          Pursuant to the executed proof of claim forms, claimants submitted to the jurisdiction of

   this Court, and waived the right to a jury trial, for purposes of any objections; therefore, any

   necessary discovery and/or dispositive motions in regards to objections will be conducted and

   resolved by this Court in a summary proceeding. If I am unable to resolve my objection, I have

   had no choice but to file a motion for summary disposition for this Court to sustain my objection.

   Those motions for summary disposition involved 1001 Club claimants whose funds were not

   transferred to Trade [DE 151 and 153]. I provided notice of the motions to the affected disputed

   claimants and filed their responses for this Court's consideration. This Court recently granted

   the motions for summary disposition [DE 163].

          I have not needed to file additional motions for summary disposition regarding other

   disputed claimants because I was able to resolve my objections with them.

          Pursuant to this Court's Order approving the distribution and objections procedures [DE

   133], if a claimant did not timely respond to my objection, the objection was deemed sustained

   and adjudicated with prejudice, and the claim was to be treated in accordance with my

   objections. I will soon be filing a status report as to claimants who have cured (and who have

   been paid their distribution amount), claimants who have responded but have not adequately

   cured (i. e., "disputed claims"), claimants who had a "disputed claim" but with whom I have


   S "Disputed claims" include the claimants who responded to my objection but disagreed with my
   recommended treatment.


                                                    6
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 10 of 14




    settled (and who have been paid their agreed-upon distribution amount), and claimants who have

    not responded in any manner (and whose claim will be treated in accordance with my

      · . ) .6
    ob~ectlOns

        III.      Marshaling of the Receivership Entities' Assets

               As stated previously, the various receivership Orders in the SEC and the CFTC actions

    grant me title to receivership assets by operation of law and, therefore, entitle me to the

    immediate turnover of receivership assets wherever located. These receivership assets have been

    and will ultimately be liquidated for the benefit of the hundreds of defrauded investors who will

    be repaid through the distribution process described above.

               A. The Properties

                      1. Midtown Unit 2305

               I discovered that, soon before it shut down, Trade transferred $200,000.00 of investor

    funds to a Trade-insider and a close Milton-friend, Darren Jarema ("Jarema"), for him to

    purchase a condominium in the Residences at Midtown (the same development where Milton

    and Center, through CMJ Capital, had purchased two condominiums); Jarema's condominium

    was unit 2305. There was no mortgage on this property.

               I sued Jarema for, among other things, a constructive trust and/or equitable lien on this

    property. I moved for summary judgment to take title to this property, after which Jarema agreed

    to deed the property to me in full settlement of my claims.

               I signed a contract to sell this property for $160,000.00. I then moved for confirmation of

    this sale, which this Court granted. The closing occurred on December 1, 2011.



    6  "Disallowed claims" will likely include the claimants who did not timely respond to my
    objection, and whose claims should be disallowed in accordance with my recommended
    treatment in the objection.


                                                        7
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 11 of 14



                   2. 8143 Greystone East Circle

           During the period, I moved to compel Defendant William Center ("Center") to provide

    dates on which my appraiser can inspect and appraise his home. Center used at least $210,000 of

    investor funds to completely renovate his home in Richmond, Virginia. As a result, I had filed

    and recorded a lis pendens in Virginia on Center's home so that it could not be sold or further

    encumbered.

           I have retained an appraiser to inspect and perform an appraisal of the home to determine

    if there is any equity in the home. There is a mortgage on the property, as well as a tax lien.

    Since filing my motion to compel, Center, through counsel, has contacted my counsel and has

    made himself available for the inspection and appraisal. I am awaiting the appraisal report.

    Assuming there is sufficient equity in the home, I hope to settle my claim as to Center's home

    improvements in the near future.

           In addition to using investor funds to renovate his home, Center used at least $92,000 in

    investor funds to re-furnish his newly-renovated home. I have obtained a list of items that

    Center purchased from the interior design company to determine what furniture and furnishings

    should be turned over and liquidated. I intend to obtain as many of these items as possible and,

    assuming they still have value, sell them for the benefit of the receivership estate.

           B. Furniture, Fixtures, and Equipment

           There is at least one remaining piece of artwork, jewelry, and a generator system from the

    19 Blenheim property. Assuming they still have value, they will be sold or auctioned in the near

    future. The jewelry consists of a watch secured from the settlement with insider Charles Reeves

    (I filed a motion to liquidate, which this Court recently granted [DE 156 and 158]).

           Regarding the remaining furniture, fixtures and equipment which was previously located




                                                      8
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 12 of 14



    in Trade's office in Richmond, Virginia (which Center ran), Center allegedly sold nearly all the

    furniture, fixtures and equipment pre-receivership. I am still investigating this issue.

              C. Bank and Brokerage Accounts

              I previously obtained frozen balances in various accounts, the largest balances of which

    ranged from approximately $113,000 to approximately $50,000. Like the $6.4 million that I

    initially secured, these funds have been deposited into my protected receivership accounts.

              D. Personal Items

              Milton and the Centers (William and Gregory) signed a Stipulation with me in which

    they agreed to list - in a formal sworn accounting - all of their personal items, whether

    purchased with Trade-derived funds or not, and to produce documents substantiating the

    information. The items purchased with Trade-derived funds will be turned over to me, after

    which I will sell these items for the benefit of the receivership estate. The Stipulation corrected

    the provision in the receivership Orders issued in the CFTC action that required me to take

    possession of literally every item owned by or purchased by the Defendants. This Court entered

    an Order approving the Stipulation [DE 39]. Milton and the Centers have provided the Court-

    ordered sworn accountings to me, which I have evaluated. The accountings are deficient in

    several respects and/or raise questions which require further investigation. I will attempt to

    resolve these issues with Milton and the Centers in the near future, absent which I will seek relief

    from this Court.

        IV.      Filing Lawsuits against Third Parties Who Received the Fruits of the Fraud

              There is currently only one remaining lawsuit pending against a target that improperly

    received hundreds of thousands of dollars from Trade. The lawsuit is Jeffrey C. Schneider,

    Receiver v. Silent Standby Power Supply LLC, Franklin Freedman, and Siri Salmi, Case No. 11-




                                                      9
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 13 of 14



    80977. That lawsuit has been transferred to this Court. I continue to remain hopeful that, rather

    than engage in costly and protracted litigation, I will be able to consensually resolve this lawsuit

    in the coming months.      If I am unable to consensually resolve it, I will take the necessary

    discovery and move for summary judgment, because the issues (in my view) are quite clear.

            I have previously obtained several judgments against Trade's insiders and profiteers, such

    as Charles Reeves, Philip Milton, William Center, Timothy O'Connor, and William Jordan. I

    have recorded those judgments and am exploring collection efforts. I also continue to receive

    settlements payments from other prior targets, such as Jason Zamperini, RoadSafe (which

    acquired T &D), and David and Konstantina Casazza.

            I may file additional lawsuits in the future against other potential targets.

       V.       Discovery

            I had no choice but to object to the claims of several Jool Club claimants whose funds

    were not transferred to Trade (the last transfer from Jool Club to Trade was July 9,2009). I have

    tried to help these Jool Club claimants by trying to determine where Jool Club sent the money

    received after July 9, 2009. I served a subpoena on Jool Club's owner, Mindy Baransky, and

                                          .
    attempted to take her deposition on November 22, 2011. She refused to appear and indicated

    that she would be asserting her Fifth Amendment Right against self-incrimination.            I also

    subpoenaed Jool Club's bank records and discovered that at least $1 million was sent offshore to

    an account in Honk Kong. I consulted with an investigator and an offshore attorney, but the cost

    of pursuing the funds was unfortunately cost-prohibitive. I have also corresponded, and spoken,

    with the CFF Receiver regarding whether there is any forensic connection between CFF and the

    Jool Club, which - if it existed - would be a potential avenue for them recovering a part of their

    funds. I, of course, have also met with, and spoken to, the Federal authorities.




                                                      10
Case 9:10-cv-80737-DTKH Document 164 Entered on FLSD Docket 03/26/2012 Page 14 of 14



       VI.      Miscellaneous Issues

             A.J. Watson, the apparent mastermind behind Cash Flow Financial, previously pled

    guilty to one count of wire fraud. Watson has received a postponement of his sentencing hearing

    previously scheduled for December 2011. The sentencing was initially continued to March 2,

    2012, and has been continued a second time to May 23, 2012.

       VII.     Conclusion

             I look forward to continuing to carry out my Court-obligated duties at the highest level

    possible for the benefit of the victims of this unfortunate fraud.

             As stated above, I am hopeful, if all goes as planned, to make a final distribution by the

    Summer or Fall of this year and then close the receivership.




             Dated:   March~2012
    FP4047




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